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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------X
                                                       :
 UNITED STATES OF AMERICA,                             :
                                                       :
                                                       :
 -vs-                                                  :
                                                       :        23-CR-146 (DG)
                                                       :
 RACHEL CHERWITZ, NICOLE                               :
 DAEDONE,                                              :
                                                       :
                                                       :
                            Defendants.                :
 -----------------------------------------------------X

       DEFENDANTS CHERWITZ AND DAEDONE’S MEMORANDUM OF LAW IN
                 SUPPORT OF A JUDGMENT OF ACQUITTAL
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                                         INTRODUCTION

         This Court should set aside the verdict of guilt entered against Defendants Rachel Cherwitz

 and Nicole Daedone and enter a judgment of acquittal because the government presented

 insufficient evidence of the offense of the forced labor conspiracy. Applying a properly narrow

 and constitutional construction of the forced labor statute, the evidence presented fell far short of

 satisfying the government’s burden of proof. The government’s case attacked Defendants’

 protected First Amendment rights using after-the-fact tales of regret from alleged victims who

 admitted that they possessed the capacity and free will to remove themselves from their later-

 believed objectionable circumstances.

         The government charged Defendants with one count of forced labor conspiracy. The jury

 returned a guilty verdict. This Court denied Defendants’ Rule 29 motion after the government

 rested its case and its renewed motion following the close of the government’s case. Defendants

 rely on and incorporate their prior oral and written Rule 29 motion in full. See ECF No. 401; Tr.

 4685:15-4722:22. Defendants supplement that motion herein. 1

                                        APPLICABLE LAW

         Federal Rule of Criminal Procedure 29(c) provides that “[i]f the jury has returned a guilty

 verdict, the court may set aside the verdict and enter an acquittal.” A court may enter a judgment

 of acquittal on the grounds of insufficient evidence “only if, after viewing the evidence in the light

 most favorable to the prosecution and drawing all reasonable inferences in the government’s favor,

 it concludes no rational trier of fact could have found the defendant guilty beyond a reasonable

 doubt.” United States v. Reyes, 302 F. 3d 48, 52 (2d Cir. 2002). To sustain a conviction, the jury




 1 To complete the record, attached as Exhibits A and B are certain defense exhibits that were not

 admitted at trial.

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 must have been able to find each of the essential elements of the crime beyond a reasonable doubt.

 United States v. Jackson, 368 F. 3d 59, 63 (2d Cir. 2004).

                                            ARGUMENT

    I.      The Forced Labor Statute Should be Narrowly Construed to Avoid Violating the
            First and Fifth Amendments.

         Under the canon of constitutional avoidance, courts should construe statutes to avoid

 “serious constitutional problems . . . unless such construction is plainly contrary to the intent of

 Congress.” Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council, 485

 U.S. 568, 575 (1988); United States v. Davis, 588 U.S. 445, 464 (2019) (“Respect for due process

 and the separation of powers suggest a court may not, in order to save Congress the trouble of

 having to write new law, construe a criminal statute to penalize conduct it does not clearly

 proscribe.”); Pierre v. Holder, 738 F.3d 39, 48 (2d Cir. 2013). This accords with the rule of lenity,

 which requires that ambiguities in a criminal statute’s interpretation be resolved in the defendant’s

 favor. United States v. Hardin, 2020 WL 1922594, at *11 (S.D.N.Y. April 21, 2020).

         The forced labor statute, 18 U.S.C. § 1589 states, in relevant part:

         (a) Whoever knowingly provides or obtains the labor or services of a person by any
         one of, or by any combination of, the following means—

          (1) by means of force, threats of force, physical restraint, or threats of physical
          restraint to that person or another person;

          (2) by means of serious harm or threats of serious harm to that person or another
          person;

          (3) by means of the abuse or threatened abuse of law or legal process; or

          (4) by means of any scheme, plan, or pattern intended to cause the person to
          believe that, if that person did not perform such labor or services, that person or
          another person would suffer serious harm or physical restraint, shall be punished
          as provided under subsection (d).




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        The statute defines “serious harm” as “any harm, whether physical or nonphysical,

 including psychological . . . harm, that is sufficiently serious, under all of the surrounding

 circumstances, to compel a reasonable person of the same background . . . to continue performing

 labor or services in order to avoid incurring that harm.” 18 U.S.C. § 1589(c)(2). A victim’s

 acquiescence to the forced labor at issue must be “objectively reasonable under the circumstance”

 in light of the particular vulnerabilities of the victim. United States v. Rivera, 799 F.3d 180, 186–

 89 (2d. Cir. 2015). In other words, the law requires the Court to ask whether the serious harm was

 “sufficiently serious to cause both the victims and reasonable people of the same background and

 in the same circumstances to feel coerced.” Id. at 799 F.3d at 186—87.

        Here, the government impermissibly used Defendants’ spiritual beliefs in connection with

 its burden to prove every element of the forced labor statute beyond a reasonable doubt.

        First, the record shows Defendants engaged in and taught a meditative spiritual practice

 that was religious in character and encouraged sensual activity outside of a practitioner’s comfort

 zone. GX3120; Tr. 1679:11-1680:2, 1680:25-1681:13, 2479:1-8, 2889:18-25, 3104:14-3105:12,

 3700:17-3701:9, 4017:11-15. To Defendants, and the alleged victims who sought out their

 teachings, “orgasm was synonymous with God and synonymous with [] a soul.” Tr. 4007:1-22;

 see also GX3500-RW-12 at 2 (“[O]rgasm is the basis of all activities”). According to these spiritual

 teachings, “orgasm” was a source of spiritual energy that was to be cultivated, like prayer, in a

 pursuit of enlightenment. Id. (“[O]rgasm is . . . the thing that keeps your body plugged in. It is your

 teacher. And it is your power source”); Tr. 190:22-191:7. These spiritual beliefs trace to ancient

 religious principles from the Hindu and Buddhist traditions. See, e.g., Tr. 4002:17-23; see also

 ECF No. 171 at 13. The practices included orgasmic meditation (“OM”), which involved

 consensual physical relations among practitioners. Tr. 106:17-107:16, 1264:15-1266:2, 2970:24-



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 2971:4, 3386:2-6; GX3500-RW-12 at 2; DX1AB at 3 (providing guidelines to ensure consensual

 physical relations). The alleged victims conceded time and time again they understood the full

 nature of these spiritual practices and voluntarily engaged in them. Tr. 1140:16-25, 1733:25-

 1734:9, 3299:25-3300:6. Practitioners signed waivers acknowledging that they were “deliberately

 coming to a place” to “lose control,” and they further agreed to hold “myself fully responsible for

 my experience of other people’s actions . . .” DX9FC. Accordingly, the record amply established

 that the very practices the government used to prove its forced labor conspiracy were part of a

 spiritual practice for which the alleged victims not only signed up for voluntarily, but sought out

 specifically.

         Although the government may not approve of the practice or the spiritual beliefs that

 inform the practice, the evidence established that these beliefs and activities are religious in nature

 and are protected under “an expansive conception of religious belief.” Equal Opportunity Emp't

 Comm'n v. United Health Programs of Am., Inc., 213 F. Supp. 3d 377, 395 (E.D.N.Y. 2016)

 (internal quotations omitted); Fowler v. Rhode Island, 345 U.S. 67, 70 (1953) (“[I]t is no business

 of courts to say that what is a religious practice or activity for one group is not religion under the

 protection of the First Amendment.”); Frazee v. Ill. Dep’t Emp’t Sec., 489 U.S. 829, 834 (1989)

 (“[W]e reject the notion that, to claim the protection of the Free Exercise Clause, one must be

 responding to the commands of a particular religious organization.”). Non-traditional spiritual

 beliefs, including those that the government may condemn—or, as in the instant case, deem “not

 okay”—are nonetheless protected by the First Amendment. See Thomas v. Rev. Bd. Ind. Emp. Sec.

 Div., 450 U.S. 707, 714, 715–16 (1981); compare Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights

 Comm'n, 584 U.S. 617, 649 (2018) (“Popular religious views are easy enough to defend. It is in

 protecting unpopular religious beliefs that we prove this country’s commitment to serving as a



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 refuge for religious freedom.”) with Tr. 5218-19:14-9 (government rebuttal arguing that

 Defendants’ spiritual beliefs and teachings were “not okay.”). Even a “conglomeration” of various

 beliefs and practices, “none of which would be considered religious practices standing alone,”

 receives protection under the First Amendment’s Establishment, Free Exercise, and Free Speech

 Clauses, as well as the First Amendment’s implicit recognition of freedom of association. Dettmer

 v. Landon, 799 F.2d 929, 931-32 (4th Cir. 1986) (rejecting that contrary argument by the

 government in holding that the Church of Wicca is a religion because it “occupies a place in the

 lives of its members parallel to that of more conventional religions”). Under this approach, “a

 touchstone of a religion is the believer's categorical disregard [of] elementary self-interest . . . in

 preference to transgressing the religion’s tenets.” United States v. Allen, 760 F.2d 447, 450 (2d

 Cir. 1985); GX2500-RW-12 at 1.2 Therefore, the OM practice and Defendant’s spiritual beliefs

 and teachings are protected under the First Amendment.

        Second, the forced labor statue must be read in light of the spiritual community created by

 Defendants that included shared practices and beliefs. See, e.g., Tr. 3279:11-13; 3672:4-10

 (describing “Darshan,” the communal process of teaching Defendants’ spiritual beliefs).

 Practitioners voluntarily chose their level of involvement in this community, which included



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   Although OneTaste like all religious institutions, involved some secular components, that does
 not limit the First Amendment’s protections of its activities and teachings. Cath. Charities Bureau,
 Inc. v. Wisconsin Lab. & Indus. Rev. Comm’n, 145 S. Ct. 1583, 1597 (2025) (Thomas, J.,
 concurring) (“Religious institutions do not exist apart from the secular world. They need to buy
 and sell property. They need to hire and pay staff. They need to form contracts and file lawsuits.
 They need their property arrangements to persist when personnel changes, and they need their
 property to remain secure when individual members of the institution become insolvent. These
 and other considerations make the formation of corporate entities essential for many religious
 institutions. . . . In short, the corporation is made for the church, not the church for the
 corporation.”).


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 working at OneTaste or volunteering their services while exercising free will. For example, serious

 practitioners could reside in monastic residences with policies intended to ensure commitment to

 the practices and teachings. Tr. 1142:3-1144:2, 1146:23-1147:23 2080:9-2081:16, 2218:11-

 2219:18, 2221:7-2222:7. Indeed, all twelve of the government’s witnesses who participated in

 OneTaste chose to live in these monastic residences. Before entering these residences, practitioners

 agreed to and were advised of the requirements through the “Rules of Play”:

        Congratulations on your decision to dive into the waters of living in an OM House!
        It means you are making a commitment: to your desire, to the community, and to
        staying connected. It is a cooker, where your emergent behavior will arise. It is a
        container that we agree to enter in to, in order to see who we are, know each other,
        and support the practice and growth of Orgasmic Meditation.

        [. . .]

        Many institutions offer themselves as a refuge. This is not one of them. An OM
        House is intended for adults- spiritual, emotional, psychological, and physical
        adults. You are moving in because you want something: a deeper sense of your
        orgasm, actualization, and connection. The nature of this work is that, on your path
        to search for these things, you will be confronted. At some point, you’ll probably
        want to blame the people around you for your experience. You’ll most likely be up
        against your demons. We find that these rules of play help us remember, that we
        are coming into the house as fully volitional Beings ready to take responsibility for
        our own experiences.

        Stay connected (no matter what). This rule of play is probably the most difficult
        and the most crucial. It means you agree to break the pattern of disconnection. You
        agree to let the other person in when your feelings are hurt, when you’re mad, or
        when you love them. You don’t get to check out from the house for a week without
        telling your house manager and housemates what is going on. You recognize that
        all of your actions have impact on the people around you.

        Staying connected means that even in the face of the most uncomfortable
        realization, you let the other people you live with in. It is disconnection that causes
        the destruction in our relationships. If we stay connected no matter what, we always
        know each other better on the other side.

 GX3500-RW-12 at 1.




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        Other practitioners could enjoy free events or pay for classes focused on these beliefs. See,

 e.g., Tr. 114:2-4, 4731:7-16, 426:13-427:6. All of the alleged victims attended these free events

 and practice opportunities, Tr. 425:10-426:15, 1019:22-1020:18, 1185:20-1186:7 2114:8-

 2115:16., and, unlike the vast majority of people who merely attended OneTaste classes and

 events, the alleged victims also chose to live in monastic residences and practice OneTaste’s

 teachings, Tr. 695:3-697:25, 2477:6-2479:8, 4214:2-25. Indeed, the practitioners freely committed

 to: practicing OM; engaging in a movement practice (typically Bikram yoga); attending OneTaste

 events (called TurnOns); following a journaling practice known as “fear inventory”; remaining in

 close communication with others in the community (referred to as “stay connected no matter

 what”); refraining from drinking alcohol or using drugs; and maintaining the cleanliness of the

 monastic house    Tr. 701:12-704:15, 1142:3-1144:2, 1146:23-1147:23, 1772:5-12, 1773:25-

 1774:11, 2080:9-2081:16, 2218:11-2219:18, 2221:7-2222:7, 2312:6-24, 4144:5-4115:15.

        Similar to religious communities throughout history, practitioners here sought spiritual

 growth and enlightenment beyond their current existence. GX2604; GX3500-RW-12 at 1; Tr.

 4966:16-23 (describing the process of “aversion practice,” which encouraged sexual encounters

 with partners who would not be their typical preference). Indeed, spiritual growth and exploration

 in a communal setting was the very reason practitioners freely engaged in these activities. Tr.

 1143:12-1144:2, 1182:15-1183:2, 2355:11-15; DX9FC at 2 (OneTaste waiver requiring

 participants to acknowledge they are deliberately entering a place where they can lose control);

 see also Tr. 2843:18-2844:21, 4045:15-21, 4136:19-4137:3. Such spiritual environments are also

 defined by volunteerism and freely giving one’s time, energy, and labor for the benefit of the

 community, as reflected at OneTaste. See, e.g., Tr. 2132:22-23, 2437:20-25, 2964:20-23, 2972:7-

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         The forced labor statute should not be interpreted to characterize the spiritual teachings and

 voluntary activities of Defendants as “improper means” or “serious harm.” See, e.g., Tr. at 1015:4-

 9, 1121:8-1122:5, 2321:12-18, 2686:24. Interpreting the forced labor statute to include

 Defendant’s teachings, practices, and spiritual beliefs would render the statute unconstitutionally

 vague.3 See Farrell v. Burke, 449 F.3d 470, 491 (2d Cir. 2006) (quoting Birzon v. King, 469 F.2d

 1241, 1243 (2d Cir. 1972)); Burke, 449 F.3d at 485 (Vagueness in the law is “particularly

 troubling” when First Amendment rights are involved). This Court should, therefore, narrowly

 interpret the statutory language to avoid violating the First Amendment’s Free Speech, Expression,

 Free Association, and Religion Clauses, as well as the Fifth Amendment’s Due Process Clause.

 See F.C.C. v. Fox Television Stations, Inc. 556 U.S. 502, 216 (2009) (“The so-called canon of

 constitutional avoidance is an interpretive tool, counseling that ambiguous statutory language be

 construed to avoid serious constitutional doubts) (citing Edward J. DeBartolo Corp., 485 U.S. at

 575).

         Moreover, such narrow construction is constitutionally required. The forced labor statute

 was not intended to regulate “day-to-day activity,” like a “political leader who uses charisma to

 induce others to work,” or “a religious leader who obtains personal services by means of religious

 indoctrination.” See Headley v. Church of Scientology Int’l, 687 F.3d 1173, 1179–80 (9th Cir.

 2012); United States v. Kozminski, 487 U.S. 931; 949 (1988) (although the Court was analyzing

 U.S.C. § 1584, the same principles apply to § 1589). Nor was it intended to redress every bad

 employment relationship, or to, for example, “punish immigrants for adhering to cultural rules and




 3 For the avoidance of doubt, Ms. Cherwitz and Ms. Daedone renew their as-applied vagueness

 challenge and incorporate by reference all prior briefing and oral argument. See ECF No. 401 at
 10-14; Tr. 4694:19- 4695:14; see also ECF No. 222 at 15-19; ECF No. 234-1 at 8, 10-12; Hr’g
 Tr. 6:24-9:8-15 (Jan. 7, 2025).
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 restrictions that many in this country would refuse to abide by.” Muchira v. Al–Rawaf, 850 F.3d

 605, 625 (4th Cir. 2017). Instead, it was “passed to implement the Thirteenth Amendment against

 slavery or involuntary servitude.” Id. at 617 (quoting United States v. Toviave, 761 F.3d 623, 629

 (6th Cir. 2014)). Specifically, it was designed to “combat” the “transnational crime” of “trafficking

 in persons,” particularly defenseless, vulnerable immigrant women and children. Church of

 Scientology Int’l, 687 F.3d at 1181 (quoting 22 U.S.C. § 7101(a), (b)(24)).

        Courts have long been wary of a labor statute’s ability to invade traditional, widely

 accepted practices. Although in Kozminski, the applicable statute was the involuntary servitude

 statute, 18 U.S.C. § 1584, and not the forced labor statute under § 1589, the same principles applied

 in that case apply here as well. Specifically, the Supreme Court held that there was no violation

 of the statute because the use or threat of coercion to obtain involuntary servitude was purely

 psychological. Kozminski, 487 U.S. at 952. While the government urged the Kozminski Court to

 adopt a broad construction of “involuntary servitude” that would “prohibit the compulsion of

 services by any means that, from the victim’s point of view, either leaves the victim with no

 tolerable alternative but to serve the defendant or deprives the victim of the power of choice,” the

 Court unanimously rejected that argument.        Id. at 949. It held that “involuntary servitude

 necessarily means a condition of servitude in which the victim is forced to work for the defendant

 by the use or threat of physical restraint or physical injury, or by the use or threat of coercion

 through law or the legal process.” Id. at 952 (internal quotations omitted). In doing so, the Court

 issued a warning about the government’s overbroad reading of the statute:

        Under this interpretation, involuntary servitude would include compulsion through
        psychological coercion as well as almost any other type of speech or conduct
        intentionally employed to persuade a reluctant person to work. This interpretation
        would appear to criminalize a broad range of day-to-day activity. For example, the
        Government conceded at oral argument that, under its interpretation, [the statute]
        could be used to punish a parent who coerced an adult son or daughter into working

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          in the family business by threatening withdrawal of affection. It has also been
          suggested that the Government’s construction would cover a political leader who
          uses charisma to induce others to work without pay or a religious leader who
          obtains personal services by means of religious indoctrination. As these
          hypotheticals suggest, the Government’s interpretation would delegate to
          prosecutors and juries the inherently legislative task of determining what type of
          coercive activities are so morally reprehensible that they should be punished as
          crimes. It would also subject individuals to the risk of arbitrary or discriminatory
          prosecution and conviction. Moreover, as the Government would interpret the
          statutes, the type of coercion prohibited would depend entirely upon the victim’s
          state of mind. Under such a view, the statutes would provide almost no objective
          indication of the conduct or condition they prohibit, and thus would fail to provide
          fair notice to ordinary people who are required to conform their conduct to the law.

 Id. at 949 (internal citations omitted) (emphasis added). The Supreme Court predicted exactly what

 happened in the instant case – the prosecutors and jury determined what type of coercive activities

 are so morally reprehensible that they should be punished as crimes. The government (mis)used

 the forced labor statute in a manner never previously conceived or carried out, and the application

 of the statute was “absurdly remote” from the drafters’ intent. In fact, the government stretched

 the Liberal Construction Clause well beyond the intent of Congress not to effectuate the purpose

 of the statute, but to specifically prosecute Defendants for their beliefs and spiritual practices.

          Without the Defendants beliefs and spiritual practices used by the government as

 psychological coercion, there was no evidence of forced labor. Notably, there was not a single

 government witness that was defenseless, vulnerable, or without options. Every single alleged

 victim was educated, spoke English, and had upward economic mobility, and all of them

 communicated with their families while participating in OneTaste. Likewise, they all elected to

 live in residences associated with its practices and beliefs. To combat these facts, the government

 bootstrapped Defendant’s spiritual practice, teachings, and beliefs in an attempt to establish forced

 labor.




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          Courts have rejected such tactics. In Toviave, for example, the Sixth Circuit explained how

 a combination of non-criminal actions could be improperly “bootstrapped” into a forced labor

 violation. Toviave, 761 F.3d at 623-24. In that case, the Sixth Circuit reversed a forced labor

 conviction when the defendant (a parent) forced his child to perform chores and babysit the

 children of his girlfriend under the specter of actual and threatened physical force. Id. at 624. The

 Toviave Court explained that the government’s interpretation “would make a federal crime of the

 exercise of these innocuous, widely accepted parental rights,” as “it has always been true that

 parents can make their children perform this kind of work.” Id. The forced labor statute “could not

 have been intended to overturn this longstanding parental right,” and the type of “labor” performed

 by the child in question was “not beyond the bounds of what a guardian can reasonably expect

 from his child.” Id. Like Toviave, here, the practices that the government used to establish forced

 labor in Defendants’ case were the very practices that the alleged victims sought out at OneTaste,

 including by moving into residences devoted to these practices, and once practicing it, also

 requested the ability to work and volunteer for OneTaste. Accordingly, as in Toviave, the

 government, here, criminalized not only religious practices, but practices and work that grown,

 educated adults chose to do.

    II.      A Narrow Application of the Forced Labor Statute Requires a Judgment of
             Acquittal.

             A. The statute requires Defendants to obtain another’s labor “by means of”
                serious harm, which does not include Defendants’ spiritual beliefs or their acts
                of teaching them.

          The forced labor statute bars an employer from obtaining another's labor “by means of”

 force, physical restraint, serious harm, threats, or an improper scheme. 18 U.S.C. §

 1589(a)(1), (a)(2), (a)(4). At trial, the government repeatedly argued Defendants obtained forced

 labor “by means of” teaching their spiritual beliefs (i.e. that the teachings themselves were “serious

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 harm”), which is constitutionally impermissible. Tr. 5250:1-20 (government rebuttal: “She is on

 trial because she . . . used aspects of her teachings to force OneTaste employees to provide labor .

 . .”). To avoid a constitutional violation, the Court should interpret the statutory text narrowly to

 exclude claims that Defendants’ spiritual beliefs and their acts of teaching were “means” to obtain

 forced labor. Interpreting the statute in this manner ensures that the government cannot criminalize

 religious beliefs, religious conduct, free association, or speech, all of which are protected by the

 First Amendment.

        With the forced labor statute properly, and narrowly, interpreted to exclude arguments that

 a religion or its teachings are “force,” the government failed to present sufficient evidence to

 support a conviction. Indeed, the prosecution in effect conceded at trial that its theory of the case

 violated the First Amendment:

        I think, as your Honor understands, our theory of the case is that the defendants put
        some the testifying witnesses, our victims, in psychological distress and also taught
        them concepts that taught them basically to consent to everything and to be willing
        to engage in certain sexual activities that even at the time they would have viewed
        as something they wouldn’t consent to, but they did so because they were taught
        this was a philosophy or a religious practice that was good for them, and if they
        continued to do it they would reach enlightenment. This all goes to the
        psychological aspect of how the labor is forced.

 Tr. 190:22-191:7.

        The government simply cannot use spiritual beliefs to prove the elements of criminal

 conduct. United States v. Kaziu, 559 Fed. Appx. 32, 35 (2d Cir. 2014). In other words, the

 government may not communicate to the jury that the spiritual beliefs or speech at issue was itself

 the proscribed conduct. United States v. Caronia, 703 F.3d 149, 161 (2d Cir. 2012); Wisconsin v.

 Mitchell, 508 U.S. 476, 489–90 (1993) (instructing that, when speech is introduced as evidence of

 intent, “[s]uch testimony is to be scrutinized with care to be certain the statements are not

 expressions of mere lawful and permissible difference of opinion with our own government”)

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 (quoting Haupt v. United States, 330 U.S. 631, 642 (1947)). This is exactly what the government

 has done here. The government used Defendants’ core spiritual beliefs, and the act of teaching

 them, as a criminal agreement and a “means to” to inflict “serious harm.” Tr. 4975:22-26

 (government closing describing OneTaste philosophies, and Nicole Daedone’s act of teaching

 them, as crime tactics).

         Moreover, the government argued that Defendants’ spiritual teachings were a fraud to

 obtain free labor: “And that’s not because OMing was actually spiritual. They connected OMing

 to spirituality for legal protection, and so people would follow Nicole Daedone’s teachings,” and

 that Ms. Daedone only taught these concepts “so that her employees would only say yes to her.”

 Tr. 4977-78:10-9. This line of argument also violated the First Amendment. See Kaziu, 559 Fed.

 Appx at 35. “[A]s a general matter, the First Amendment means that government has no power to

 restrict expression because of its message, its ideas, its subject matter, or its content.” United States

 v. Alvarez, 567 U.S. 709, 715–18 (2012).

         The government impermissibly used protected practices and beliefs to meet its burden of

 proof while arguing that a deviation from moral norms should result in a criminal conviction. In

 its rebuttal, the government argued that the victims “were grown women . . . adults . . . educated .

 . . they walked in here with degrees . . . that just shows how powerful the coercion was in this case

 . . . they testified to performing labor after or services after they had been psychologically

 damaged.” Tr. 5220-21:17-1. The government maintained that the jury should find severe

 psychological harm from the alleged victims’ voluntary decisions to live and work in a spiritual

 communal setting, and to continue to follow their shared beliefs while living in that setting—a

 communal setting that was referred to by the government’s own witnesses as a monastic residence.

 Tr. 4261:20-4262:6. Stripped of its constitutional infirmities, the government’s case cannot



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 establish the requisite “means” or “serious harm” under the forced labor statute. At the end of the

 case, the government’s entire summation was a plea to the jury to find a crime based on

 Defendants’ non-traditional spiritual beliefs and practices, an argument that is expressly forbidden

 by the First Amendment. See Masterpiece Cakeshop, Ltd., 584 U.S. at 649.

            B. “By means of” or “serious harm” does not include the necessary consequences
               of joining and participating in a spiritual community.

        Spiritual practitioners who freely choose to associate with and work in a community based

 on a shared desire to further common goals and follow its teachings are not victims of forced labor.

 See Church of Scientology, 687 F.3d at 1178. The “means of” or “serious harm” at issue must

 compel that person to remain in servitude when she otherwise would have left. United States v.

 Dann, 652 F.3d 1160, 1170 (9th Cir. 2011).. For this reason, consequences of leaving the spiritual

 group and warnings of spiritual harm should they leave, do not constitute serious harm, as “a

 church is entitled to stop associating with someone who abandons it.” Id. at 1180 (shunning—or

 “los[ing] contact with family, friends, or each other”—“is not ‘serious harm’—and warning of

 such a consequence is not a ‘threat’—under the Victims Protection Act.”). The act of shunning

 “has its roots in early Christianity,” and this practice is protected by the rights of freedom of

 association and free exercise of religion under the First Amendment. Paul v. Watchtower Bible &

 Tract Soc., 819 F.2d 875, 876–77, 883 (9th Cir. 1987); Taylor v. Salvation Army Nat'l Corp., 110

 F.4th 1017, 1031 (7th Cir. 2024); see also Kozminski, 487 U.S. at 960 (Brennan, J., concurring)

 (stating involuntary servitude statute not intended to criminalize “religious leader who admonishes

 his adherents that unless they work for the church they will rot in hell.”). Despite this, the

 government introduced evidence that such consequences would befall the alleged victims should

 they leave. Tr. 254:12-15, 283:17-19, 370:19-371:14, 370:16-371:14, 373:11-17, 1080:5-21,




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 1121:1-1122:5, 1288:4-12, 2784:11-24. Without this constitutionally impermissible evidence, the

 prosecution fails as a matter of law.

        Moreover, when narrowly construing the forced labor statute to this prosecution, the Court

 should not interpret “serious harm,” to include Defendants’ relationship with practitioners or

 leadership or the spiritual community. See, e.g,. Tr. 4902:10-23 (“you heard how Daedone was in

 charge . . . She controlled who was in and out of the community . . .”); Tr. 830:15-20, 3025:7-

 3026:2, 3132:8-20, 4226:6-22. The alleged victims practiced their spiritual beliefs in a voluntary

 spiritual community, whose activities are religious in character and, therefore, constitutionally

 protected. See GX3500-RW-12 at 1 (describing a communal OM house as a “cooker” and a

 “container that we agree to enter into, in order to see who we are, know each other, and support

 the practice and growth of Orgasmic Meditation.”).

        This freedom of association is “implicit” in the First Amendment and is, therefore, a right

 enjoyed by religious and secular groups alike. See Hosanna-Tabor Evangelical Lutheran Church

 and School v. E.E.O.C., 565 U.S. 171, 189 (2012). Communal spiritual groups like the residences

 in which the government witnesses chose to live, and the related community practices, are the

 “archetype of associations formed for expressive purposes,” because their “very existence is

 dedicated to the collective expression and propagation of shared religious ideals.” Hosanna-Tabor,

 656 U.S. at 201 (Alito, J., Concurring). As such, these types of groups inherently exercise a level

 of “control” over their members.” Id. at 200. Because a spiritual belief or religion “cannot depend

 on someone to be an effective advocate for its religious vision if that person’s conduct fails to live

 up to the religious precepts that he or she espouses,” a degree of influence is “an essential

 component of its freedom to speak in its own voice, both to its own members and to the outside

 world.” Id. at 201. This respect for the self-governance of spiritual groups is essential to our



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 society, and our legal traditions recognize all who choose to participate in religion “do so with an

 implied consent to this government, and are bound to submit to it.” Watson v. Joens, 13 Wall. 679,

 728-29 (1872). In this type of community, Defendants were entitled to, and indeed expected to,

 advance the “critical process of communicating the faith.” Hosanna-Tabor, 565 U.S. at 199 (Alito,

 J., concurring). Without these impermissible arguments, the government could not meet its burden

 of proving every element of a forced labor conspiracy beyond a reasonable doubt.

            C. The evidence failed to meet a properly construed reasonable person standard.

        The forced labor statute requires a jury to “consider the particular vulnerabilities of a person

 in the victim’s position but also requires that her acquiescence be objectively reasonable under the

 circumstances.” Rivera, 799 F.3d at 186. Congress intended these vulnerabilities to be known

 objective conditions, like age, immigration status, or mental disability. H.R. Conf. Rep. No. 106-

 939, at 101 (Oct. 5, 2000); United States v. Bradley, 390 F.3d 145, 153 (1st Cir. 2004), vacated on

 other grounds, 545 U.S. 1101 (2005); Muchira, 850 F.3d at 620; Tegete, 2023 WL 2504744, at

 *9; see also Kozminski 487 U.S. at 952 (holding psychological harm is not the type of coercion

 required for involuntary servitude, even where the victims were mentally disabled). The hidden

 emotional state of the alleged victim is not an objective circumstance and would negate the scienter

 element required to establish forced labor. See Bradley, 799 F.3d at 153.

        Furthermore, the statute was not intended to encompass voluntary spiritual communal

 practices when considering whether Defendants’ actions were “sufficiently serious to cause both

 the victims and reasonable people of the same background and in the same circumstances to feel

 coerced.” Rivera, 799 F.3d at 186–87. Indeed, it cannot be reasonable for alleged victims to fully

 embrace spiritual practices, yet allege years later that their voluntary participation in those

 practices was a result of psychological coercion or “brainwashing.” See, e.g., Church of



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 Scientology Int’l, 687 F.3d at 1180-81 (no forced labor claim when alleged victims had

 “innumerable opportunities” to leave the Church of Scientology as evidenced by travel, access to

 vehicles, phone, and internet, and leaving would result in losing contact with Church members);

 Salvation Army Nat'l Corp., 110 F.4th at 1031 (finding no TVPA violation when alleged victims

 could have regained both the ability to do other work and the ability to access their cell phones

 and internet); Tegete, 2023 WL 2504744, at *10 (discussing alleged victims’ ability to travel,

 access to internet and cell phone as evidence that alleged victim was not performing forced labor);

 see also Muchira, 850 F.3d at 618-22 (employee who worked for a family was not “coerced” when

 she had ample opportunities to walk away from the situation).                Based on witnesses’

 contemporaneous statements from the time, which the defense was only permitted to use to refresh

 their recollection, it is apparent that the alleged victims fully embraced OneTaste’s spiritual

 practices, and only regret it now, ten to fifteen years later.

         Furthermore, none of the alleged victims possessed objective vulnerabilities that “bear on

 whether the employee’s labor was obtained by forbidden means.” Bradley, 390 F.3d at 153

 (quoting H.R. Conf. Rep. N. 106-939, at 101 (Oct. 5, 2000)) (internal quotations omitted). The

 government acknowledged that the alleged victims were educated women capable of rational

 decision-making. Tr. 5220-21:17-1 (government’s rebuttal) (describing alleged victims: these

 “were grown women . . . adults . . . educated . . . they walked in here with degrees . . . that just

 shows how powerful the coercion was in this case . . . they testified to performing labor after or

 services after they had been psychologically damaged.”); DX1AB at 3 (requiring certain OneTaste

 participants to disclaim that they did not suffer from any hidden conditions “that could pose a

 threat of harm to myself or other course participants” or other OneTaste employees). Government

 witnesses testified that they exercised their own free will to immerse themselves in a spiritual



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 community of shared beliefs and practices. Tr. 4261:16-4262:6. Under these circumstances, the

 Court should hold that it would be unreasonable, as a matter of law, for an individual who

 voluntarily submits herself to the requirements of a spiritual community in this case to later claim

 that such a choice was the result of psychological coercion. Church of Scientology Int’l, 687 F.3d

 at 1178; Tegete. 2023 WL 2504744 at *10. To hold otherwise would be fundamentally

 incompatible with the First Amendment, and would subject many, if not most, religious

 organizations to similarly intolerable claim that “a regime of religious indoctrination

 psychologically coerced adherents to work for the church.” Kozminski, 487 U.S. at 964 (Brennan,

 J., concurring).

            D. The jury could not have found that Defendants intended to obtain forced labor
               or that they reached an agreement to violate the statute.

        Finally, the scope of the statute is narrowed by the express scienter requirement. Dann, 652

 F.3d at 1170. The “linchpin of the serious harm analysis under § 1589 is not just that serious harm

 was threatened but that the employer intended the victim[s] to believe that such harm would befall”

 them if they left employment. Muchira, 850 F.3d at 618 (quoting Dann, 652 F.3d at 1170). The

 Court should determine that the scienter element was not met as a matter of law. Government’s

 witnesses, through digital evidence and trial testimony, admitted they communicated to

 Defendants that they were voluntary participants in these spiritual practices, that they exercised

 free will to leave the community, and that they loved the practice. See, e.g., Tr. 498:11-22; 660:12-

 15; 705:1-3; 1455:22-23; Tr. 1455:25-1456:1; 1902:14-20; 2821:15-17;          Salvation Army Nat'l

 Corp., 110 F.4th at 1031(“it is difficult to see how the [employer] could have harbored such an

 intent” when the alleged victim voluntarily associates themselves with the employer.). These

 communications to Defendants, as well as the surrounding facts and circumstances of the evidence,

 make clear that Defendants could have never formed the necessary scienter to violate the statute.

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 Tr. 704:7-705:3, 1184:8-22, 1553:1-20, 2251:4-14, 3950:23-3951:7. In fact, the alleged victims,

 in addition to living in residences dedicated to OneTaste practices and beliefs, wanted to work for

 the company, and could have left to obtain other employment—indeed, they did so when they

 eventually left. Thus, Defendants could not have believed that they were forcing anyone to work,

 and indeed there was no evidence that Defendants “intend[ed] to cause a person in [their] employ

 to believe that if she does not continue to work, she will suffer the type of serious harm—physical

 or nonphysical, including psychological, financial, reputational harm—that would compel

 someone in her circumstances to continue working to avoid that harm.” Dann, 652 F.3d at 1169-

 70; United States v. Chaudhri, 134 F. 4th 166, 186 (4th Cir. 2025) (“The Government was required

 to establish that defendants were aware the victim could have regarded their statements as serious

 harm.”). Accordingly, because Defendants did not have the requisite scienter, it follows that there

 was insufficient evidence that Defendants entered into a conspiratorial agreement to force labor.

        Indeed, Defendants’ awareness that the practitioners were voluntarily engaging in spiritual

 practices, and that they had the ability to leave the spiritual community, would negate any unlawful

 intent or agreement. See, e.g., Salvation Army Nat'l Corp., 110 F.4th at 1031 (“As the district court

 stressed, given the voluntary nature of participation in the program, it is difficult to see how the

 Salvation Army could have harbored such an intent”); Tegete, 2023 WL 2504744 at *10

 (discussing alleged victims’ ability to travel, access to internet and cell phone as evidence that

 defendant did not intend to obtain forced labor); see also Muchira, 850 F.3d at 618-22 (insufficient

 evidence to show defendant intended forced labor where employee was not especially vulnerable,

 was not subjected to squalid living conditions, had ample opportunities to walk away from the

 situation). While the statute does not require victims be kept under “lock and key,” where

 defendants know that the alleged victims had the ability to leave and always exercised free will in



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 their spiritual practices, there could be no criminal intent. See, e.g., Muchira, 850 F.3d at 621-23

 (insufficient evidence of intent where alleged victim began to view traditional Saudi cultural house

 rules to be “oppressive and archaic” after working in America, but failed to exercise her free will

 to leave); Church of Scientology Int’l, 687 F.3d at 1177-78 (insufficient evidence of intent to obtain

 forced labor where alleged victims labored because it was “the right thing to do,” and successfully

 left “the first time [they] tried.”) Here, the alleged victims all testified they were physically free to

 leave but felt “brainwashed” to stay. Tr. 768:25-770:11, 1203:16-23. Accordingly, because

 Defendants were aware that the alleged victims chose to live in monastic residences, chose to work

 for OneTaste and were able to leave either or both at any time, there was insufficient evidence to

 establish the statutory element of mens rea. See Muchira, 850 F.3d at 618.

     III.      In Violation of the First Amendment, the Government Asked the Jury to Convict
               Defendants Because of the Alleged Immorality of their Spiritual Practices.

            In its rebuttal, the government made clear the entire case was a moral condemnation of

 Defendants’ spiritual beliefs and practices: “[D]o not let the defense normalize what happened

 here by conventional or unconventional standards . . . it is not okay to teach your employees that

 their spiritual purpose is to fuck the war out of men and that if they stray from the past set by

 OneTaste and Nicole Daedone, they will be spiritually ruined . . . it is not okay to instruct your

 employees to go have sex . . . it is not okay to demand that women open up the most sensitive part

 of their bodies . . .” Tr. 5218-19:14-9; see also Tr. 4937:15-20, 4989:4-6. While the teachings and

 practices may be offensive to the prosecution, it is this very idiosyncratic repulsiveness that garners

 First Amendment protection. Tr. 2306:12-24, 2934:25-2935:18, 3030:14-25, 3990:25-3991:1; see

 also Church of Lukumi Babalu Aye, Inc. v. City of Hialeah., 508 U.S. 520, 5732 (1993) (“[T]he

 First Amendment forbids an official purpose to disapprove of a particular religion”); Edwards v.

 Aguillard, 482 U.S. 578, 593 (1987) (“The Establishment Clause . . . forbids . . . the prohibition of

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 theory which is deemed antagonistic to a particular dogma”); Larson v. Valente, 456 U.S. 228, 246

 (1982) (the First Amendment mandates a strict “principle of denominational neutrality.”).

         In fact, the government specifically used the core principles of OneTaste, Defendants’

 beliefs, and Ms. Daedone’s teachings to argue that the alleged victims were so indoctrinated that

 they lost their free will. But there was no evidence that any of the government’s witnesses lost

 their free will. Instead, the government used this First Amendment protected activity to improperly

 argue that anyone who would adhere to what the government believes are abhorrent principles

 must be forced into doing so. But as the Supreme Court has stated, “religious beliefs need not be

 acceptable, logical, consistent, or comprehensible to others in order to merit First Amendment

 protection.” Thomas, 450 U.S. at 714; see also United States v. Ballard, 322 U.S. 78, 87 (1944)

 (And “[i]f one could be sent to jail because a jury in a hostile environment found [particular

 religious] teachings false, little indeed would be left of religious freedom.”).

         Furthermore, the use of these practices in the government’s argument made it difficult for

 the jury to distinguish between someone who has lost agency and the ability to make her own

 decisions from someone who has been influenced by love, charisma, religious practices, or

 teachings. See Kozminski, 487 U.S. at 960-61 (J. Brennan, concurring (agreeing with “the Court

 that the difficulty of distinguishing the victim deprived of “the capacity for rational calculation”

 from the victim influenced by love, charisma, persuasive argument, or religious fervor is

 sufficiently great that the standard fails to define the criminal conduct with sufficient specificity”).

 The fact that these alleged victims may look back and regret being influenced by these religious

 and spiritual practices does not make the activity criminal, and when the government conflated the

 practices with labor, it confused the issue at hand and infringed upon their First Amendment rights.




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                                          CONCLUSION

        In sum, where the forced labor statute is properly construed to exclude evidence of

 constitutionally protected beliefs and teachings like much of the government’s evidence presented

 at trial, the government was left with insufficient evidence to sustain its charge of forced labor

 conspiracy. Accordingly, the Court must set aside the Defendants’ conviction under Rule 29. For

 the reasons set forth above, and the reasons set forth in their prior oral and written Rule 29 motion

 in full, Ms. Cherwitz and Ms. Daedone respectfully request that the Court grant their motion for a

 judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29. See ECF No. 401; Tr.

 4685:15-4722:22.

                                                       Respectfully submitted,

                                                       /s/JENNIFER BONJEAN

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